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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :       Case No:
                                              :
                v.                            :
                                              :       VIOLATIONS:
                                              :
PHILLIP ANDREW BROMLEY,                       :       18 U.S.C. § 1752(a),
                                              :       (Restricted Building or Grounds)
                Defendant.                    :
                                              :       40 U.S.C. § 5104(e)(2)
                                              :       (Violent Entry or Disorderly Conduct)


 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

       I, William Novak, first being duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.       I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and am

assigned to the Washington Field Office Public Corruption/Civil Rights Squad. I am currently

tasked with investigating criminal activity in and around the U.S. Capitol (“Capitol”) grounds on

January 6, 2021. As an FBI Special Agent, I am authorized by law or by a Government agency

to engage in or supervise the prevention, detention, investigation, or prosecution of a violation of

federal criminal laws.

       2.      This affidavit is being submitted in support of a criminal complaint and an arrest

warrant based on probable cause to believe that PHILLIP ANDREW BROMLEY has committed

the offenses of Unlawful Entry of a Restricted Building, in violation of Title 18, Section 1752(a),

and Disorderly Conduct on Capitol Grounds, in violation of Title 40, Section 5104(e)(2).

       3.      The facts and information contained in this affidavit are based on my personal

knowledge and observations, my review of records and documents obtained during this
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investigation, information received from other individuals, and my experience and training as a

Special Agent.

       4.        This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

                                        PROBABLE CAUSE

                       Probable Cause – The U.S. Capitol on January 6, 2021

       5.        The Capitol, which is located at First Street, SE, in Washington, D.C., is secured

24 hours a day by U.S. Capitol Police (“USCP”). Restrictions around the Capitol include

permanent and temporary security barriers and posts manned by USCP. Only authorized people

with appropriate identification were allowed access inside the Capitol.

       6.        On January 6, 2021, the exterior plaza of the Capitol was also closed to members

of the public.

       7.        On January 6, 2021, a joint session of the United States Congress convened at the

Capitol. During the joint session, elected members of the United States House of Representatives

and the United States Senate were meeting in separate chambers of the Capitol to certify the vote

count of the Electoral College of the 2020 Presidential Election, which had taken place on

November 3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

       8.        As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the Capitol.

As noted above, temporary and permanent barricades were in place around the exterior of the
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Capitol building, and USCP were present and attempting to keep the crowd away from the Capitol

and the proceedings underway inside.

        9.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the Capitol were locked or otherwise secured. Members of the USCP

attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around

2:00 p.m., individuals in the crowd forced entry into the Capitol, including by breaking windows

and by assaulting members of the USCP, as others in the crowd encouraged and assisted those

acts.

        10.      Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session of the

United States Congress was effectively suspended until shortly after 8:00 p.m. Vice President

Pence remained in the Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

        11.      During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the Capitol building

without authority to be there.

                                    Probable Cause – Bromley

        12.      Your affiant identified BROMLEY as an individual who was inside the Capitol

building on January 6, 2021, without authority.

        13.      Your affiant is aware of a ProPublica website entitled “What Parler Saw During the

Attack on the Capitol” (available at https://projects.propublica.org/parler-capitol-videos/). The
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website contains numerous videos that appear to have been recorded on January 6, 2021, in and

around the Capitol building.

       14.     One of the videos was entitled “4:26 p.m. Near Capitol” (hereinafter “Video 1”). I

have reviewed Video 1. In Video 1, an individual – whom I identify as BROMLEY for the reasons

set forth below – provides a narrative of events that he witnessed in the Capitol building.

       15.     In his narrative of events on Video 1, BROMLEY states: “listen…everybody needs

to know the truth.” BROMLEY proceeds to describe how he “breached the right side,” “went in,”

and “came to two large glass doors.” When he reached the doors, BROMLEY continues by stating

he was talking with SWAT officers and reminding them “of their oath,” at which time “a gunshot

went off” and a woman was “shot her in the neck.” BROMLEY continues by stating it “did not

look like a survivable wound” and that “she [the woman who was shot] was eight feet in front of

me on a line.” BROMLEY further describes the clothing he observed the woman to be wearing

when she was shot and states “they shot her and she is dead.”

       16.     BROMLEY concludes his narrative by stating: “my name is PHILLIP

BROMLEY.”

       17.     Below are two still images from Video 1 of BROMLEY while he was providing

his narrative of events:
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       18.     Your affiant is further aware of numerous videos that were apparently recorded

inside the Capitol building on or around the time Ashli Babitt was shot. Your affiant is specifically

aware of a video posted to YouTube entitled “Video shows police treating woman shot during

protests             at             U.S.             Capitol”              (available              at

https://www.youtube.com/watch?reload=9&v=BUmhuNOe1e4&bpctr=1611152588 (hereinafter

“Video 2”). I have reviewed Video 2. In Video 2, your affiant observed an individual whom I

assess is BROMLEY at the scene where Babitt was shot. Provided below are two still images

from Video 2 that depict an individual whom I believe is BROMLEY:
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       19.     Your affiant obtained surveillance video from the Capitol building from the U.S.

Capitol Police (hereinafter “Video 3”). I have reviewed Video 3. In Video 3, an individual whom

I identify as BROMLEY is observed inside the Capitol building. Provided below are two still

images from Video 3 that depict an individual whom I identify as BROMLEY:




       20.     Your affiant obtained the Alabama Law Enforcement Agency’s photograph of

BROMLEY from his driver’s license and compared that photograph of BROMLEY to the

individual providing the narrative of events outside the Capitol building (supra ¶¶ 14-17) in Video
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1. Based on this comparison and other information, including the admission of the individual at

the end of Video 1 that his name is “PHILLIP BROMLEY,” your affiant believes BROMLEY is

in fact the individual providing the narrative of events in Video 1.

       21.     Your affiant believes there is probable cause that BROMLEY unlawfully entered

the Capitol building on January 6, 2021 based on, among other things, my review of Video 1 and

his admission in the narrative of events in Video 1 that he “breached” the Capitol building, his

first-hand description in Video 1 of the events that he claims to have witnessed inside the Capitol

building (i.e., the fatal shooting of Babitt), and Videos 2 and 3 in which I observed an individual

whom I assess to be BROMLEY in the Capitol building. In particular, the individual in Videos 2

and 3, described supra ¶¶ 18-19, appears to have a similar beard, is wearing a dark colored jacket

and hat, and appears to have the same gloves as the individual who provides the narrative of events

outside the Capitol building.

       22.     Based on the foregoing, your affiant submits that there is probable cause to believe

that BROMLEY violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly

enter or remain in any restricted building or grounds without lawful authority to do; and (2)

knowingly, and with intent to impede or disrupt the orderly conduct of Government business or

official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any

restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

orderly conduct of Government business or official functions; or attempts or conspires to do so.

For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,

or otherwise restricted area of a building or grounds where the President or other person protected

by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
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building or grounds so restricted in conjunction with an event designated as a special event of

national significance.

       23.     Your affiant submits there is also probable cause to believe that BROMLEY

violated 40 U.S.C. §§ 5104(e)(2)(D) and (G), which make it a crime to willfully and knowingly

(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or

disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly

conduct in that building of a hearing before, or any deliberations of, a committee of Congress or

either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

                                        CONCLUSION

       24.     Based on my training and experience, and the information provided in this affidavit,

there is probable cause to believe that on or about January 6, 2021, in the District of Columbia,

PHILLIP BROMLEY did knowingly and willfully commit the offenses of Unlawful Entry of a

Restricted Building, in violation of Title 18, Section 1752(a), and Disorderly Conduct on Capitol

Grounds, in violation of Title 40, Section 5104(e)(2).



                                                         William Novak
                                                     _________________________________
                                                     William Novak
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this _12th_ day of February 2021.
                                                                           2021.02.12
                                                                           17:35:23 -05'00'
                                                     ___________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE
